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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION
DWIGHT RUSSELL, ET AL.
    On behalf of themselves and all
    Others similarly situated,

         Plaintiffs,

v.                                             C.A. No. 4:19-CV-00226

HARRIS COUNTY, TEXAS, ET AL.,
    Defendants.



                 NON-PARTY FELONY JUDGES’ MOTION TO QUASH




                               Exhibit H

     Plaintiffs’ Discovery Requests to County Defendants
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                       IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

                                                )
 RUSSELL, et al.                                )
                                                )
 Plaintiffs,                                    )
                                                )
 v.                                             )       Case No. 4:19-cv-00226
                                                )       (Class Action)
 HARRIS COUNTY, TEXAS, et al.                   )       The Honorable Lee H. Rosenthal
                                                )       U.S. District Judge
 Defendants.                                    )
                                                )

               PLAINTIFFS’ REQUESTS FOR PRODUCTION TO DEFENDANT
                             HARRIS COUNTY SHERIFF

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Rules

of the Southern District of Texas, requests that Defendant Harris County Sheriff, produce the

following documents, in accordance with the definitions and instructions set forth below, within

30 days of service hereof.

                                         INSTRUCTIONS

         1.      Unless the particular request indicates otherwise, the relevant time period to which

each request refers is from January 1, 2015 to the present.

         2.      Each category of documents or things in these requests extends to any documents

or things in your possession, custody, or control. A document or thing shall be deemed to be in

your possession, custody, or control if it is in your physical custody, or if it is in the physical

custody of any other person and you (a) own such document or thing in whole or in part; (b) have

a right by contract, statute, or otherwise to use, inspect, examine, or copy such document or thing

in whole or in part; (c) have an understanding, express or implied, that you may use, inspect,




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examine, or copy such document or thing in whole or in part; or (d) as a practical matter, have

been able to use, inspect, examine, or copy such document or thing in whole or in part.

       3.      If any portion of any document is responsive to any document request, produce the

entire document. If the document contains both privileged and unprivileged material, produce the

document with the privileged material redacted, together with a statement concerning the privilege

asserted as required by paragraph 2 of these Instructions.

       4.      With respect to any document that is not produced, whether in whole or in part, on

the grounds of any privilege or otherwise, state the following: (a) The date of the document; (b)

The author of the document; (c) The recipient(s) of the document, if any (To/CC/BCC fields); (d)

The subject matter of the document; (e) The nature of the document (letter, memorandum, notes,

etc.); (f) The privilege(s) claimed; (g) A description of the privilege(s) so as to explain the basis

for withholding the document or thing in sufficient detail so as to enable the claim of privilege to

be adjudicated, if necessary; (h) Whether the document or thing has been redacted; and (i) The

number of pages.

       5.      These document requests seek production of all documents described, including all

drafts, of whatever date, and all non-identical copies or originals. In the event that multiple copies

of a document exist, produce every copy on which appear any notations or markings of any sort

that do not appear on any other copy.

       6.      If any document or thing or any part of any document or that you are requested to

produce or identify herein was at one time in existence, but has been lost, discarded, or destroyed,

identify in writing each document or thing and provide the following information: (a) the date or

approximate date it was lost, discarded, or destroyed; (b) the circumstances and manner in which

it was lost, discarded, or destroyed; (c) the reason(s) for disposing of the document (if discarded



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or destroyed); (d) the identity of all persons authorizing the document and/or having knowledge of

the document; (e) the identity of the person(s) who lost, discarded, or destroyed the document; (f)

the identity of any persons having knowledge of the contents thereof; and (g) a detailed summary

of the nature and contents of the document, including the author(s) of the document(s), the name

of the person(s) to whom the document(s) was (were) delivered or addressed, including indicated

or blind copy recipients, the date of the document(s), and a description of the subject matter

thereof, including any attachment or appendices, and the number of pages.

         7.     Whenever appropriate, the singular form of a word should be interpreted in the

plural, and the plural form of a word should be interpreted in the singular.

         8.     If you have no documents responsive to a request, please state this in your response

to the specific request.

         9.     If you object to any of the requests for documents and things set forth below, you

must fully set forth your objections in writing. If objection is made to part of any request for any

document and thing, the part should be specified. If you object to any request or part of any request,

you must produce all documents to which your objection does not apply.

         10.    Pursuant to Federal Rule of Civil Procedure 26(e)(1), this Request for Production

shall be deemed continuing so as to require further and supplemental production if you obtain or

discover additional documents between the time of initial production and the time of hearing OR

trial.

         11.    Each Request for Production shall be construed independently and no Request for

Production shall limit the scope of any other Request for Production.




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                                           DEFINITIONS

        1.      “All” means “any and all,” and the word “any” shall be understood to include and

encompass “all.”

        2.      “And” and “or” shall be construed conjunctively or disjunctively, whichever makes

the request more inclusive.

        3.      Any pronoun shall be construed to refer to the masculine, feminine, or neuter

gender and singular or plural, as in each case is most appropriate.

        4.      “Article 15.17 hearing” refers to the legal proceeding that occurs in the Joint

Processing Center and is presided over by a Criminal Law Hearing Officer. It sometimes referred

to as “magistration.”

        5.      “Bail” means any condition of pretrial release (including a personal bond).

        6.      “Bail hearing” means any proceeding at which conditions of release are determined.

        7.      “Bail review hearing” refers to a hearing that takes place in the courtroom of a

Criminal District Court Judge that is transcribed on the record or otherwise recorded, that is

adversarial in that both the State and the Defendant are represented (or the Defendant has waived

representation), and that involves an opportunity for both the State and Defendant to present

documentary evidence and witness testimony.

        8.      “Concerning” means constituting, pertaining to, making reference to, comprising,

evidencing, alluding to, responding to, connected with, commenting on, with respect to, about,

regarding, resulting from, embodying, explaining, supporting, contradicting, discussing, showing,

describing, reflecting, analyzing, setting forth, in respect of, having a relationship to, or in any way

being factually, legally or logically connected to, in whole or in part, the stated subject matter.




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         9.    “Communication” when used herein means any form of information exchange, or

attempted exchange, by any media in any manner, whether oral or written, including without

limitation: correspondence, electronic mail (“email”), social media messages or posts, online

discussion board posts and messages, face-to-face conversation, meeting or conference, telexes,

facsimile transmissions, recordings in any medium of oral communication, telephone and message

logs, and notes or memoranda relating to any written, electronic or oral communication, tweets,

blogs or text messages. The word “communication” includes internal communications.

         10.    “Document” shall have the full meaning ascribed under the Federal Rules of Civil

Procedure and shall mean, without limitation, any written, recorded, or graphic material of any

kind within your possession, custody, or control, whether in paper or electronic form. The term

includes, but is not limited to, all agreements; contracts; letters; telegrams; communications;

facsimile transmissions; memoranda; reports; records; studies; instructions; specifications;

handwritten or typewritten notes; notebooks; scrapbooks; diaries; calendars; plans; drawings;

sketches; diagrams; minutes of meetings, conferences, and telephone or other conversations;

photocopies; charts; graphs; descriptions; drafts; ledgers; financial statements or reports; invoices;

bills; microfilm, microfiche, tape, disk, or diskette recordings; computer records and computer

printouts; and emails, electronic intraoffice or interoffice messages, chats, or text messages.

         11.   “Felony arrestee” refers to any person arrested in Harris County and charged with

a felony offense under the laws of the state of Texas.

         12.   “Felony bail schedule” or “bail schedule” refers to the bail schedule that is currently

in effect and was filed on the docket in this litigation at Docket Entry No. 1-4, unless otherwise

noted.




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        13.       “Financial condition” or “financial condition of release” refers to a requirement to

make a cash payment prior to being released as a condition of being released. These terms are

synonymous with “secured bail amount” and “secured financial condition.”

        14.       “Hearing Officers” means the Harris County Criminal Law Hearing Officers.

        15.       “Include” or “including” denotes a portion of a larger whole and is used without

limitation.

        16.       “Indigent” refers to any felony arrestee who cannot afford to pay the cost of secured

bail or a fee or cost associated with a condition of pretrial release in a case to be prosecuted in the

Harris County Criminal District Courts without suffering hardship meeting the basic necessities of life,

such as food, shelter, clothing, communication, transportation, and medical care, including, but not

limited to, anyone who meets one or more of the following criteria:

              a. Is found to be indigent under the indigent defense plan of the Harris County Criminal
                 District Courts;
              b. Is, or has dependents who are, eligible to receive food stamps, Medicaid, Temporary
                 Assistance for Needy Families, Supplemental Security Income, Social Security
                 Disability Income, public housing, or any other federal or state public assistance
                 program based on financial hardship;
              c. Has a net household income that does not exceed 200% of the Poverty Guidelines as
                 revised annually by the United States Department of Health and Human Services and
                 published in the Federal Register;
              d. Is homeless as that term is defined by federal public health and welfare law found at
                 42 U.S.C. § 11302; or
              e. Is currently serving a sentence in a correctional institution, is currently residing in a
                 public mental health facility or court-ordered treatment facility, or is subject to a
                 proceeding in which admission or commitment to such a mental health facility is
                 sought.

         17.      “Initial bail hearing” refers to the hearing to determine conditions of release that

takes place inside the jail, is presided over by a Criminal Law Hearing Officer, and is referred to

locally as “magistration” or the “Article 15.17 hearing.”




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        18.    “Nonfinancial condition of release” refers to a condition of release that does not

require an upfront payment and does not require the person to make a payment if they do not

appear for a court proceeding and the judge forfeits the bond.

        19.    “Personal bond” refers to an order releasing a person on unsecured bail.

        20.    “Relating to” shall mean in whole or in part, constituting, containing, referring to,

discussing, dealing with, describing, reflecting, or pertaining to in any way whatsoever.

        21.    “Secured bail amount” or “secured financial condition” refers to a requirement to

make a cash payment prior to being released as a condition of being released.

        22.    “The Sheriff” refers to Harris County Sheriff Ed Gonzalez in his official capacity.

        23.    “The County” refers to Harris County and all of its agents and employees, including

but not limited to the Harris County Criminal Law Hearing Officers

        24.    “The Felony Judges” or “the District Court Judges” or “the Criminal District Court

Judges” refer to the 23 judicial defendants in this litigation.

        25.    “Unsecured bail” or “unsecured bond” refers to release that is conditioned on a

promise to pay a specific amount of money if the person does not appear for a court proceeding

and the judge forfeits the bond.

        26.    “You,” “your,” and “yours” means the Defendant Harris Country Sheriff, and any

or all of his or her officers, employees, representatives, or agents.

                                REQUESTS FOR PRODUCTION

   9. All documents showing that, in Harris County, secured money bail is more effective than
      other conditions of release at reasonably assuring court appearance or community safety,
      or preventing flight.

   10. All documents reflecting felony arrestees’ financial information and ability to pay,
       including forms completed during the booking process, such as forms inventorying
       arrestees’ property.



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   11. All procedures, policies, written instructions, or training materials that relate to arrest,
       booking, bonding, release, cite and release. Responsive documents include but are not
       limited to any procedures, policies, or training materials relating to the General Order Bond
       (Dkt. 32-6) and Amended General Order Bond (Dkt. 214-7) and the Sheriff’s instruction
       to refuse to accept people charged with certain misdemeanors.

   12. Documents reflecting the number of bail hearings conducted via Zoom or other online
       platform for people in the jail at the time of the hearing and charged with one or more
       felony offenses from March 1, 2020 through the present. Plaintiffs are requesting
       documents reflecting such bail hearings at which the felony arrestee personally, virtually
       attended the bail hearing. If all responsive documents have been produced in response to
       the discovery requests served by the State Intervenors in this case, please so state.

   13. Documents reflecting the number of bail hearings conducted in person for people detained
       in the jail at the time of the hearing and charged with one or more felony offenses from
       March 1, 2020 through the present. Plaintiffs are requesting documents reflecting such bail
       hearings at which the felony arrestee personally attended the bail hearing. If all responsive
       documents have been produced in response to the discovery requests served by the State
       Intervenors in this case, please so state.

   14. Documents reflecting all orders or instructions from any Felony Judge (or someone acting
       on behalf of a Felony Judge, e.g. a court coordinator or staff attorney) regarding court
       appearances from March 1, 2020 through the present, including but not limited to orders
       prohibiting anyone who tested positive from ever coming to court, and Orders rescinding
       those Orders.

   15. Any COVID-19-related jail policies, procedures, or written instructions that affect the
       place, timing, or manner or bail hearings either in the jail, in a courtroom, or virtually that
       apply to people charged with felonies.


DATE: September 25, 2020                              Respectfully Submitted,

/s/ Alec Karakatsanis                                 /s/ Neal S. Manne
/s/ Elizabeth Rossi                                   Neal S. Manne
Alec George Karakatsanis (Pro Hac Vice)               Texas Bar No. 12937980
alec@civilrightscorps.org                             nmanne@susmangodfrey.com
Elizabeth Rossi (Pro Hac Vice)                        Lexie G. White
elizabeth@civilrightscorps.org                        Texas Bar No. 24048876
Civil Rights Corps                                    lwhite@susmangodfrey.com
1601 Connecticut Ave NW, Suite 800                    Joseph S. Grinstein
Washington, DC 20009                                  Texas Bar No. 24002188
Telephone: (202) 681-2721                             jgrinstein@susmangodfrey.com
                                                      SUSMAN GODFREY L.L.P.
/s/ Liyah Brown                                       1000 Louisiana Street, Suite 5100
Mimi Marziani (Pro Hac Vice)                          Houston, Texas 77002

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Texas State Bar No. 24091906              Telephone: (713) 651-9366
mimi@texascivilrightsproject.org          Facsimile: (713) 654-6666
Liyah Brown (Pro Hac Vice)
D.C. Bar No. 500149                       /s/ Michael Gervais
liyah@texascivilrightsproject.org         Michael Gervais (Pro Hac Vice)
Peter Steffensen                          mgervais@susmangodfrey.com
Texas State Bar No. 24106464              SUSMAN GODFREY L.L.P.
Southern District No. 3327006             1900 Avenue of the Stars, #1400
peter@texascivilrightsproject.org         Los Angeles, CA 90067
Texas Civil Rights Project                Telephone: (310) 789-3100
2202 Alabama Street
Houston, TX 77004
Telephone: 512-474-5073 ext. 118




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                      IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

                                               )
 RUSSELL, et al.                               )
                                               )
 Plaintiffs,                                   )
                                               )
 v.                                            )       Case No. 4:19-cv-00226
                                               )       (Class Action)
 HARRIS COUNTY, TEXAS, et al.                  )       The Honorable Lee H. Rosenthal
                                               )       U.S. District Judge
 Defendants.                                   )
                                               )

 PLAINTIFFS’ REQUESTS FOR PRODUCTION TO DEFENDANT HARRIS COUNTY

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Rules

of the Southern District of Texas, requests that Defendant Harris County Sheriff, produce the

following documents, in accordance with the definitions and instructions set forth below, within

30 days of service hereof.

                                        INSTRUCTIONS

        1.      Unless the particular request indicates otherwise, the relevant time period to which

each request refers is from January 1, 2015 to the present.

        2.      Each category of documents or things in these requests extends to any documents

or things in your possession, custody, or control. A document or thing shall be deemed to be in

your possession, custody, or control if it is in your physical custody, or if it is in the physical

custody of any other person and you (a) own such document or thing in whole or in part; (b) have

a right by contract, statute, or otherwise to use, inspect, examine, or copy such document or thing

in whole or in part; (c) have an understanding, express or implied, that you may use, inspect,

examine, or copy such document or thing in whole or in part; or (d) as a practical matter, have

been able to use, inspect, examine, or copy such document or thing in whole or in part.

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       3.      If any portion of any document is responsive to any document request, produce the

entire document. If the document contains both privileged and unprivileged material, produce the

document with the privileged material redacted, together with a statement concerning the privilege

asserted as required by paragraph 2 of these Instructions.

       4.      With respect to any document that is not produced, whether in whole or in part, on

the grounds of any privilege or otherwise, state the following: (a) The date of the document; (b)

The author of the document; (c) The recipient(s) of the document, if any (To/CC/BCC fields); (d)

The subject matter of the document; (e) The nature of the document (letter, memorandum, notes,

etc.); (f) The privilege(s) claimed; (g) A description of the privilege(s) so as to explain the basis

for withholding the document or thing in sufficient detail so as to enable the claim of privilege to

be adjudicated, if necessary; (h) Whether the document or thing has been redacted; and (i) The

number of pages.

       5.      These document requests seek production of all documents described, including all

drafts, of whatever date, and all non-identical copies or originals. In the event that multiple copies

of a document exist, produce every copy on which appear any notations or markings of any sort

that do not appear on any other copy.

       6.      If any document or thing or any part of any document or that you are requested to

produce or identify herein was at one time in existence, but has been lost, discarded, or destroyed,

identify in writing each document or thing and provide the following information: (a) the date or

approximate date it was lost, discarded, or destroyed; (b) the circumstances and manner in which

it was lost, discarded, or destroyed; (c) the reason(s) for disposing of the document (if discarded

or destroyed); (d) the identity of all persons authorizing the document and/or having knowledge of

the document; (e) the identity of the person(s) who lost, discarded, or destroyed the document; (f)



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the identity of any persons having knowledge of the contents thereof; and (g) a detailed summary

of the nature and contents of the document, including the author(s) of the document(s), the name

of the person(s) to whom the document(s) was (were) delivered or addressed, including indicated

or blind copy recipients, the date of the document(s), and a description of the subject matter

thereof, including any attachment or appendices, and the number of pages.

         7.     Whenever appropriate, the singular form of a word should be interpreted in the

plural, and the plural form of a word should be interpreted in the singular.

         8.     If you have no documents responsive to a request, please state this in your response

to the specific request.

         9.     If you object to any of the requests for documents and things set forth below, you

must fully set forth your objections in writing. If objection is made to part of any request for any

document and thing, the part should be specified. If you object to any request or part of any request,

you must produce all documents to which your objection does not apply.

         10.    Pursuant to Federal Rule of Civil Procedure 26(e)(1), this Request for Production

shall be deemed continuing so as to require further and supplemental production if you obtain or

discover additional documents between the time of initial production and the time of hearing OR

trial.

         11.    Each Request for Production shall be construed independently and no Request for

Production shall limit the scope of any other Request for Production.

                                          DEFINITIONS

         1.     “All” means “any and all,” and the word “any” shall be understood to include and

encompass “all.”




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        2.      “And” and “or” shall be construed conjunctively or disjunctively, whichever makes

the request more inclusive.

        3.      Any pronoun shall be construed to refer to the masculine, feminine, or neuter

gender and singular or plural, as in each case is most appropriate.

        4.      “Article 15.17 hearing” refers to the legal proceeding that occurs in the Joint

Processing Center and is presided over by a Criminal Law Hearing Officer. It sometimes referred

to as “magistration.”

        5.      “Bail” means any condition of pretrial release (including a personal bond).

        6.      “Bail hearing” means any proceeding at which conditions of release are determined.

        7.      “Bail review hearing” refers to a hearing that takes place in the courtroom of a

Criminal District Court Judge that is transcribed on the record or otherwise recorded, that is

adversarial in that both the State and the Defendant are represented (or the Defendant has waived

representation), and that involves an opportunity for both the State and Defendant to present

documentary evidence and witness testimony.

        8.      “Concerning” means constituting, pertaining to, making reference to, comprising,

evidencing, alluding to, responding to, connected with, commenting on, with respect to, about,

regarding, resulting from, embodying, explaining, supporting, contradicting, discussing, showing,

describing, reflecting, analyzing, setting forth, in respect of, having a relationship to, or in any way

being factually, legally or logically connected to, in whole or in part, the stated subject matter.

        9.      “Communication” when used herein means any form of information exchange, or

attempted exchange, by any media in any manner, whether oral or written, including without

limitation: correspondence, electronic mail (“email”), social media messages or posts, online

discussion board posts and messages, face-to-face conversation, meeting or conference, telexes,



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facsimile transmissions, recordings in any medium of oral communication, telephone and message

logs, and notes or memoranda relating to any written, electronic or oral communication, tweets,

blogs or text messages. The word “communication” includes internal communications.

         10.    “Document” shall have the full meaning ascribed under the Federal Rules of Civil

Procedure and shall mean, without limitation, any written, recorded, or graphic material of any

kind within your possession, custody, or control, whether in paper or electronic form. The term

includes, but is not limited to, all agreements; contracts; letters; telegrams; communications;

facsimile transmissions; memoranda; reports; records; studies; instructions; specifications;

handwritten or typewritten notes; notebooks; scrapbooks; diaries; calendars; plans; drawings;

sketches; diagrams; minutes of meetings, conferences, and telephone or other conversations;

photocopies; charts; graphs; descriptions; drafts; ledgers; financial statements or reports; invoices;

bills; microfilm, microfiche, tape, disk, or diskette recordings; computer records and computer

printouts; and emails, electronic intraoffice or interoffice messages, chats, or text messages.

         11.   “Felony arrestee” refers to any person arrested in Harris County and charged with

a felony offense under the laws of the state of Texas.

         12.   “Felony bail schedule” or “bail schedule” refers to the bail schedule that is currently

in effect and was filed on the docket in this litigation at Docket Entry No. 1-4, unless otherwise

noted.

         13.   “Financial condition” or “financial condition of release” refers to a requirement to

make a cash payment prior to being released as a condition of being released. These terms are

synonymous with “secured bail amount” and “secured financial condition.”

         14.   “Hearing Officers” means the Harris County Criminal Law Hearing Officers.




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       15.       “Include” or “including” denotes a portion of a larger whole and is used without

limitation.

       16.       “Indigent” refers to any felony arrestee who cannot afford to pay the cost of secured

bail or a fee or cost associated with a condition of pretrial release in a case to be prosecuted in the

Harris County Criminal District Courts without suffering hardship meeting the basic necessities of life,

such as food, shelter, clothing, communication, transportation, and medical care, including, but not

limited to, anyone who meets one or more of the following criteria:

              a. Is found to be indigent under the indigent defense plan of the Harris County Criminal
                 District Courts;
              b. Is, or has dependents who are, eligible to receive food stamps, Medicaid, Temporary
                 Assistance for Needy Families, Supplemental Security Income, Social Security
                 Disability Income, public housing, or any other federal or state public assistance
                 program based on financial hardship;
              c. Has a net household income that does not exceed 200% of the Poverty Guidelines as
                 revised annually by the United States Department of Health and Human Services and
                 published in the Federal Register;
              d. Is homeless as that term is defined by federal public health and welfare law found at
                 42 U.S.C. § 11302; or
              e. Is currently serving a sentence in a correctional institution, is currently residing in a
                 public mental health facility or court-ordered treatment facility, or is subject to a
                 proceeding in which admission or commitment to such a mental health facility is
                 sought.

         17.     “Initial bail hearing” refers to the hearing to determine conditions of release that

takes place inside the jail, is presided over by a Criminal Law Hearing Officer, and is referred to

locally as “magistration” or the “Article 15.17 hearing.”

         18.     “Nonfinancial condition of release” refers to a condition of release that does not

require an upfront payment and does not require the person to make a payment if they do not

appear for a court proceeding and the judge forfeits the bond.

         19.     “Personal bond” refers to an order releasing a person on unsecured bail.

         20.     “Relating to” shall mean in whole or in part, constituting, containing, referring to,

discussing, dealing with, describing, reflecting, or pertaining to in any way whatsoever.

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            21.    “Secured bail amount” or “secured financial condition” refers to a requirement to

make a cash payment prior to being released as a condition of being released.

            22.    “The Sheriff” refers to Harris County Sheriff Ed Gonzalez in his official capacity.

            23.    “The County” refers to Harris County and all of its agents and employees, including

but not limited to the Harris County Criminal Law Hearing Officers

            24.    “The Felony Judges” or “the District Court Judges” or “the Criminal District Court

Judges” refer to the 23 judicial defendants in this litigation.

            25.    “Unsecured bail” or “unsecured bond” refers to release that is conditioned on a

promise to pay a specific amount of money if the person does not appear for a court proceeding

and the judge forfeits the bond.

            26.    “You,” “your,” and “yours” means the Defendant Harris Country, and any or all of

his or her officers, employees, representatives, or agents, including the Harris County Criminal

Law Hearing Officers and Pretrial Services.

                                     REQUESTS FOR PRODUCTION

      9. All documents reflecting any instructions, guidelines, policies, advisories, requests, or
         suggestions that were issued at any time between 19871 and the present by any Felony
         Judge, or anyone acting on behalf of any Felony Judge (e.g. a Court Coordinator or Staff
         Attorney), to any Hearing Officer, employee of Pretrial Services, employee of the District
         Attorney’s Officer, or other government official regarding the post-arrest process,
         including all such documents that relate to the bail schedule, raising or lowering secured
         bail amounts, releasing people on personal bonds, or setting financial or nonfinancial
         conditions of release.

           Plaintiffs note that Hearing Officers Eric Hagstette, Joe Licata, and Jill Wallace provided
           sworn written testimony to the Texas Commission on Judicial Conduct stating that they
           had submitted “representative copies of charts outlining the specific instructions issued to
           the Hearing Officers.” Russell v. Harris County, Dkt. 32-7 at 31–32, 41–42, 50–51
           (emphasis added). This Request for Production includes but is not limited to the
           “representative” documents submitted to the Ethics Commission. It seeks all “rules,
           preferences, and policies of the assigned trial court judge[s].” Dkt. 32-7 at 31–32, 41–42,
           50–51.
1
    November 25, 1987 is the date the Roberson order was entered.

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10. During the Texas State Commission on Judicial Conduct proceedings against them,
    Hearing Officers Hagstette, Licata, and Wallace provided sworn written testimony that
    “[u]ntil March 27, 2017, several of the District Court Judges did not permit Hearing
    Officers to grant personal bonds, instructing that personal bond applications be referred to
    the assigned trial court for consideration.” Dkt. 32-7 at 31–32, 41–42, 50–51. Produce all
    documents reflecting those “instruct[ions].”

11. During the Texas State Commission on Judicial Conduct proceedings against them,
    Hearing Officers Hagstette, Licata, and Wallace provided sworn written testimony that
    “[m]ost of the District Court Judges had specific rules to follow in consideration of bond.”
    Dkt. 32-7 at 31–32, 41–42, 50–51. Produce all documents reflecting such “rules.”

12. During the Texas State Commission on Judicial Conduct proceedings, Hearing Officers
    Hagstette, Licata, and Wallace provided sworn written testimony that “[t]hese individual
    rules were removed effective March 27, 2017.” Dkt. 32-7 at 31–32, 41–42, 50–51. Produce
    all documents reflecting the “remov[al]” of these “rules.”

13. Please produce all documents reflecting an inquiry into felony arrestees’ ability to pay
    and/or reflecting felony arrestees’ financial information and ability to pay, including any
    forms completed by Pretrial Services such as the risk assessment interview reports that
    were used prior to the Public Safety Assessment.

14. Please produce videos of all magistration hearings that took place in the Harris County Jail
    for felony arrestees in 2016, 2017, 2018, 2019, and 2020. Plaintiffs will accept one week
    of hearings from each month of each year, but reserve their right to request additional
    dockets. Please also produce one day of hearings from each month of 2015.

15. Please produce all documents showing that, in Harris County, secured money bail is more
    effective than other conditions of release at reasonably assuring court appearance or
    community safety, or preventing flight.

16. Please produce all documents showing that, in any jurisdiction, secured money bail is more
    effective than other conditions of release at reasonably assuring court appearance or
    community safety, or preventing flight.

17. Please produce all documents reflecting any study Harris County has done to assess the
    comparative rates, in Harris County, of new criminal activity, bond-condition violations,
    nonappearance or failure-to-appear of felony arrestees released on different types of bonds.

18. Please produce all policies or training materials that relate to Harris County felony bail
    policy since January 1, 2015 through the present, including but not limited to policies and
    training materials relating to the development and implementation of the Public Safety
    Assessment, any bail policy that has been in effect between January 2015 and the present
    (including any and all bail schedules and the two General Orders issued in April 2020, Dkt.
    214-7, Dkt. 32-6), and the decision to employ public defenders at bail hearings.


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19. Please produce any documents reflecting the Harris County Pretrial Services’ budget in
    each year from 2015 through the present.

20. Please produce any documents reflecting the budget for Harris County Pretrial Services in
    2021 or any year thereafter.

21. Please produce any documents reflecting the Harris County Community Supervision &
    Corrections Department’s budget for supervising pretrial felony arrestees in each year from
    2015 through the present.

22. Please produce any documents reflecting the budget for Harris County Community
    Supervision & Corrections Department in 2021 or any year thereafter.

23. Please produce any documents reflecting Harris County’s budget for courtrooms and any
    other facilities used by Felony Judges.

24. Please produce any documents reflecting the costs to Harris County of each supervision
    level for felony arrestees.

25. Please produce any documents reflecting the costs to Harris County of supervision of
    felony arrestees by any of the agencies or entities that provide supervision to felony
    arrestees in Harris County.

26. Please produce all documents relating to the post-arrest process applied to each named
    Plaintiff, including a copy of all the information transmitted by the arresting officer using
    the District Attorney’s Intake Management System (DIMS), any documents or information
    that provided a basis for the Hearing Officers’ determination of probable cause and/or
    conditions of release, any documents or information that provided a basis for an Assistant
    District Attorney’s determination of probable cause at the time a complaint was filed, any
    communication in Defendants’ possession from or to a bonding company that relates to
    any of the Named Plaintiffs, and any other documents and forms in each Plaintiffs’ court
    case files.

27. Please produce any evidence that the named Plaintiffs possessed the ability to pay the
    secured bail amounts required for their release when they appeared before a Hearing
    Officer for a probable cause hearing.

28. Please produce transcripts of every hearing conducted as a result of each bail motion or
    bail writ petition listed in response to Interrogatory 1 served on Harris County, including
    transcripts of every bail hearing listed in Judge Gray’s, Judge Warren’s, and Judge
    Silverman’s responses to Interrogatory 1 served on them and transcripts of any bail hearing
    listed in response to the other 20 Judges’ forthcoming amended responses to Interrogatory
    1 served on the Felony Judges.




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DATE: September 25, 2020                       Respectfully Submitted,

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/s/ Elizabeth Rossi                            Neal S. Manne
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                     IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

                                                   )
 RUSSELL, et al.                                   )
                                                   )
 Plaintiffs,                                       )
                                                   )
 v.                                                )       Case No. 4:19-cv-00226
                                                   )       (Class Action)
 HARRIS COUNTY, TEXAS, et al.                      )       The Honorable Lee H. Rosenthal
                                                   )       U.S. District Judge
 Defendants.                                       )
                                                   )

          PLAINTIFFS’ INTERROGATORIES TO DEFENDANT HARRIS COUNTY

          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the Local Rules of the

Southern District of Texas, Plaintiffs, by and through their undersigned counsel, hereby request that

Defendant Harris County answer the following interrogatories, within 30 days of service hereof.

                                           INSTRUCTIONS

      1. The provisions of Fed. R. Civ. P. 26 and 33 and Local Rule 33 are incorporated by reference

herein.

      2. If any Interrogatory cannot be complied with in full, it should be complied with to the extent

possible, and an explanation should be provided as to why full compliance is not possible.

      3. These Interrogatories shall be interpreted to be inclusive rather than exclusive.

      4. You must respond separately to each Interrogatory. These Interrogatories should be construed

independently and not by reference to any other Interrogatory for the purpose of limitation.

      5. In the event that a Defendant contends that any of these Interrogatories are objectionable, in

whole or in part, the Defendant will state with particularity each such objection and the basis therefore,

and will respond to the remainder of the Interrogatory to the extent that the Defendant is not objecting

to it.



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    6. In the event that You object to any Interrogatory on the ground that it is vague and/or

ambiguous, identify the particular words, terms or phrases that You assert make such Interrogatory

vague and/or ambiguous.

    7. If objection is made to disclosing any information responsive to these Interrogatories on the

basis of any claim of privilege, provide a statement setting forth the information required by Fed. R.

Civ. P. 26(b)(5)(A) and the Local Rules.

    8. The use of the singular form of any word includes the plural and vice versa.

    9. In accordance with Fed. R. Civ. P. 26, these Interrogatories are continuing in nature and require

the Defendant Harris County to serve supplemental or amended responses in a timely manner in the

event that the Defendant Harris County obtain or discover additional information after responding to

the Interrogatories.

    10. In answering these interrogatories, You shall furnish all Information, however obtained,

including hearsay, which is available to You, and Information known by or in possession of You, Your

agents, and Your attorneys, or appearing in Your records. If You cannot answer an Interrogatory in

full after exercising due diligence to secure the Information needed to do so, You shall state an answer

to the extent possible, specifying Your ability to answer the remainder, and stating whatever

Information or knowledge You have concerning the unanswered portion.

    11. Unless otherwise specified in these Interrogatories, all Interrogatories should be construed to

cover the period January 1, 2015 through the present.

                                           DEFINITIONS

        1.      “All” means “any and all,” and the word “any” shall be understood to include and

encompass “all.”

        2.      “And” and “or” shall be construed conjunctively or disjunctively, whichever makes

the request more inclusive.


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       3.      Any pronoun shall be construed to refer to the masculine, feminine, or neuter

gender and singular or plural, as in each case is most appropriate.

       4.      “Article 15.17 hearing” refers to the legal proceeding that occurs in the Joint

Processing Center and is presided over by a Criminal Law Hearing Officer. It sometimes referred

to as “magistration.”

       5.      “Bail” means any condition of pretrial release (including a personal bond).

       6.      “Bail hearing” means any proceeding at which conditions of release are determined.

       7.      “Bail review hearing” refers to a hearing that takes place in the courtroom of a

Criminal District Court Judge that is transcribed on the record or otherwise recorded, that is

adversarial in that both the State and the Defendant are represented (or the Defendant has waived

representation), and that involves an opportunity for both the State and Defendant to present

documentary evidence and witness testimony.

       8.       “Concerning” means constituting, pertaining to, making reference to, comprising,

evidencing, alluding to, responding to, connected with, commenting on, with respect to, about,

regarding, resulting from, embodying, explaining, supporting, contradicting, discussing, showing,

describing, reflecting, analyzing, setting forth, in respect of, having a relationship to, or in any way

being factually, legally or logically connected to, in whole or in part, the stated subject matter.

       9.      “Communication” when used herein means any form of information exchange, or

attempted exchange, by any media in any manner, whether oral or written, including without

limitation: correspondence, electronic mail (“email”), social media messages or posts, online

discussion board posts and messages, face-to-face conversation, meeting or conference, telexes,

facsimile transmissions, recordings in any medium of oral communication, telephone and message




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logs, and notes or memoranda relating to any written, electronic or oral communication, tweets,

blogs or text messages. The word “communication” includes internal communications.

         10.    “Document” shall have the full meaning ascribed under the Federal Rules of Civil

Procedure and shall mean, without limitation, any written, recorded, or graphic material of any

kind within your possession, custody, or control, whether in paper or electronic form. The term

includes, but is not limited to, all agreements; contracts; letters; telegrams; communications;

facsimile transmissions; memoranda; reports; records; studies; instructions; specifications;

handwritten or typewritten notes; notebooks; scrapbooks; diaries; calendars; plans; drawings;

sketches; diagrams; minutes of meetings, conferences, and telephone or other conversations;

photocopies; charts; graphs; descriptions; drafts; ledgers; financial statements or reports; invoices;

bills; microfilm, microfiche, tape, disk, or diskette recordings; computer records and computer

printouts; and emails, electronic intraoffice or interoffice messages, chats, or text messages.

         11.   “Felony arrestee” refers to any person arrested in Harris County and charged with

a felony offense under the laws of the state of Texas.

         12.   “Felony bail schedule” or “bail schedule” refers to the bail schedule that is currently

in effect and was filed on the docket in this litigation at Docket Entry No. 1-4, unless otherwise

noted.

         13.   “Financial condition” or “financial condition of release” refers to a requirement to

make a cash payment prior to being released as a condition of being released. These terms are

synonymous with “secured bail amount” and “secured financial condition.”

         14.   “Hearing Officers” means the Harris County Criminal Law Hearing Officers.

         15.   “Include” or “including” denotes a portion of a larger whole and is used without

limitation.



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       16.      “Indigent” refers to any felony arrestee who cannot afford to pay the cost of secured

bail or a fee or cost associated with a condition of pretrial release in a case to be prosecuted in the

Harris County Criminal District Courts without suffering hardship meeting the basic necessities of life,

such as food, shelter, clothing, communication, transportation, and medical care, including, but not

limited to, anyone who meets one or more of the following criteria:

             a. Is found to be indigent under the indigent defense plan of the Harris County Criminal
                District Courts;
             b. Is, or has dependents who are, eligible to receive food stamps, Medicaid, Temporary
                Assistance for Needy Families, Supplemental Security Income, Social Security
                Disability Income, public housing, or any other federal or state public assistance
                program based on financial hardship;
             c. Has a net household income that does not exceed 200% of the Poverty Guidelines as
                revised annually by the United States Department of Health and Human Services and
                published in the Federal Register;
             d. Is homeless as that term is defined by federal public health and welfare law found at
                42 U.S.C. § 11302; or
             e. Is currently serving a sentence in a correctional institution, is currently residing in a
                public mental health facility or court-ordered treatment facility, or is subject to a
                proceeding in which admission or commitment to such a mental health facility is
                sought.

         17.    “Initial bail hearing” refers to the hearing to determine conditions of release that

takes place inside the jail, is presided over by a Criminal Law Hearing Officer, and is referred to

locally as “magistration” or the “Article 15.17 hearing.”

         18.    “Nonfinancial condition of release” refers to a condition of release that does not

require an upfront payment and does not require the person to make a payment if they do not

appear for a court proceeding and the judge forfeits the bond.

         19.    “Personal bond” refers to an order releasing a person on unsecured bail.

         20.    “Relating to” shall mean in whole or in part, constituting, containing, referring to,

discussing, dealing with, describing, reflecting, or pertaining to in any way whatsoever.

         21.    “Secured bail amount” or “secured financial condition” refers to a requirement to

make a cash payment prior to being released as a condition of being released.

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        22.    “The Sheriff” refers to Harris County Sheriff Ed Gonzalez in his official capacity.

        23.    “The County” refers to Harris County and all of its agents and employees, including

but not limited to the Harris County Criminal Law Hearing Officers

        24.    “The Felony Judges” or “the District Court Judges” or “the Criminal District Court

Judges” refer to the 23 judicial defendants in this litigation.

        25.    “Unsecured bail” or “unsecured bond” refers to release that is conditioned on a

promise to pay a specific amount of money if the person does not appear for a court proceeding

and the judge forfeits the bond.

        26.    “You,” “your,” and “yours” means the Defendant Harris Country, and any or all of

his or her officers, employees, representatives, or agents, including the Harris County Criminal

Law Hearing Officers and Pretrial Services.

                                      INTERROGATORIES

   1. Please identify all people charged with felony offenses between 2015 and the present, the
      date they or their lawyer filed a bail motion and/or a writ petition pertaining to bail, and
      the date any hearing on the motion was held. If no hearing was held, please indicate as
      such. If a hearing was held but no record exists, state that as well.

   2. During the Article 15.17 hearings in the jail, Hearing Officers routinely state that they will
      “refer” or “defer” to the Felony Judge the decision to release a person on a personal bond.
      For example, see the hearings described in Dkt. 259-1, rows 1–5, 12–14, 16–18. For each
      Hearing Officer, explain how the Hearing Officer decides whether to “refer” or “defer” the
      decision on a personal bond, and state specifically whether each Hearing Officers considers
      any instructions, rules, policies, or preferences of the Felony Judges when deciding whether
      to “refer” or “defer” a decision on a personal bond.

   3. At any point from January 1, 2017 through the present, has any Felony Judge (or collection
      of Felony Judges, or someone acting on behalf of a Felony Judge, e.g. a court coordinator
      or staff attorney) instructed, requested, advised, or required any Hearing Officer, either
      directly or through another government official such as pretrial services, to refer or defer
      the decision on a personal bond, whether in an individual case or categories of cases (e.g.
      for all people charged with certain crimes or with a certain criminal history), to the
      presiding Felony Judge? If the answer is yes, name each judge and official involved and
      describe the timing, circumstances, and content of the instruction, request, advice, or
      requirement.


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   4. Please provide the names and dates of employment of any person employed as a Harris
      County Criminal Law Hearing Officer from 2010 through the present. Please also provide
      the dates of employment as a Criminal Law Hearing Officer of Defendant Judge Frank
      Aguilar.



DATE: September 25, 2020                         Respectfully Submitted,

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/s/ Elizabeth Rossi                              Neal S. Manne
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                    IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

                                                 )
 DWIGHT RUSSELL, et al.                          )
                                                 )
 Plaintiffs,                                     )            Case No. 4:19-cv-00226
                                                 )                (Class Action)
 v.                                              )        The Honorable Lee H. Rosenthal
                                                 )              U.S. District Judge
 HARRIS COUNTY, TEXAS, et al.                    )
                                                 )
 Defendants.                                     )
                                                 )

               PLAINTIFFS’ REQUESTS TO DEFENDANT HARRIS COUNTY
                            SHERIFF FOR PRODUCTION

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Rules

of the Southern District of Texas, plaintiffs request that Defendant Harris County Sheriff Ed

Gonzalez (“Sheriff”) produce the following documents.

                                         INSTRUCTIONS

      1. Manner of Responding. Your written response shall state, with respect to each item or

category, that inspection and related activities will be permitted as requested unless the request is

refused, in which event the reasons for refusal shall be stated. If the refusal relates to part of an

item or category, the part shall be specified.

      2. Manner of Producing. The documents responsive to these requests shall be produced in

compliance with the terms described in the ESI Protocol.

      3. Scope of the Requests. All requests are for documents applicable to, relating to, or

concerning the Defendant, as “Defendant” is defined in the Definitions section.

      4. Possession, Custody, Control. Each category of documents or things in these requests

extends to any documents or things in your possession, custody, or control. A document or thing
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shall be deemed to be in your possession, custody, or control if it is in your physical custody, or if

it is in the physical custody of any other person and you (a) own such document or thing in whole

or in part; (b) have a right by contract, statute, or otherwise to use, inspect, examine, or copy such

document or thing in whole or in part; (c) have an understanding, express or implied, that you may

use, inspect, examine, or copy such document or thing in whole or in part; or (d) as a practical

matter, have been able to use, inspect, examine, or copy such document or thing in whole or in

part.

          Where documents or things in the possession, custody, or control of any individual, agency,

office, firm, corporation, or partnership are requested, such request also pertains to documents in

the possession, custody, or control of employees, agents, guardians, partners, representatives,

and—unless privileged or protected—attorneys of such individuals, agencies, offices, firms,

corporations, or partnerships, unless otherwise specified. Responsive documents applicable to that

time period shall be produced whether they originated or were adopted prior to or during that time

period.

    5. In Case of Ambiguity. If, in responding to these Requests, you encounter any ambiguity in

construing any request, instruction, or definition, set forth the matter deemed ambiguous and the

construction used in responding.

    6. Objections. If an objection to a request is based upon a claim of privilege, attorney work

product, or any other basis, please identify, contemporaneously with producing responses to these

Requests, in writing each document so withheld by providing the following information:

    a. the date or approximate date of the document;

    b. the type of document (e.g., letter, memorandum);

    c. a description of the subject matter of the document;
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   d. each and every person who prepared, signed, or participated in the preparation of the

document or any copy thereof;

   e. each and every person who received the document or any copy thereof;

   f. the present custodian(s) of each document;

   g. a list of attachments or enclosures to the document; and

   h. the nature of the privilege asserted and any statutes, rules, or cases that you contend support

the assertion of privilege.

   7. Portions of Privileged Documents. Identify and produce all segregable portions of any

responsive document to which a claim of privilege, attorney work product, or other basis for

withholding the document does not apply.

   8. Continuing Nature of Document Requests. These Requests for Production of Documents

are continuing in character so as to require you to promptly amend or supplement your response if

you discover or obtain further materials in accordance with Fed. R. Civ. P. 26(e).

   9. Lost or Destroyed Documents. If any document requested herein has been lost, discarded,

or destroyed, please furnish a list identifying each such document as completely as possible

including, without limitation, the following information: its author and addressee, each person to

whom copies of the document were furnished or to whom the contents thereof were communicated,

a comprehensive summary of the substance of the document, the date (or approximate date) of its

disposal, the manner of its disposal, the reason for its disposal, the person authorizing its disposal,

and the person disposing of the document.
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                                            DEFINITIONS

         1.    “All” means “any and all,” and the word “any” shall be understood to include and

encompass “all.” The terms “each” and “every” shall be construed as encompassing each and

every.

         2.    “And” and “or” shall be construed conjunctively or disjunctively, whichever makes

the request more inclusive.

         3.    The words “or,” “and,” “all,” “every,” “any,” “each,” “one or more,” “including,”

and similar words of guidance, are intended merely as such, and should not be construed as words

of limitation. The words “or” and “and” shall include each other whenever possible to expand, not

restrict, the scope of the Request. The word “including” shall not be used to limit any general

category or description that precedes it.

         4.    The use of the singular form of any word includes the plural and vice versa.

         5.    The use of a word in its singular form shall be deemed to include within its use the

plural as well, and vice versa, wherever necessary to bring within the scope of the discovery request

matters that might otherwise be construed to be outside the scope of the request

         6.    The use of a verb in any tense shall encompass all other tenses, wherever necessary,

to bring within the scope of the discovery request matters that might otherwise be construed as

outside the scope of the request.

         7.    Any pronoun shall be construed to refer to the masculine, feminine, or neuter

gender and singular or plural, as in each case is most appropriate.

         8.    “Article 15.17 hearing” refers to the legal proceeding that occurs in the Joint

Processing Center and is presided over by a Criminal Law Hearing Officer. It sometimes referred

to as “magistration.”
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        9.      “Bail” means any condition of pretrial release (including a personal bond).

        10.     “Bail hearing” means any proceeding at which conditions of release are determined.

        11.     “Bail review hearing” refers to a hearing that takes place in the courtroom of a

Criminal District Court Judge that is transcribed on the record or otherwise recorded, that is

adversarial in that both the State and the Defendant are represented (or the Defendant has waived

representation), and that involves an opportunity for both the State and Defendant to present

documentary evidence and witness testimony.

        12.     “Concerning” means constituting, pertaining to, making reference to, comprising,

evidencing, alluding to, responding to, connected with, commenting on, with respect to, about,

regarding, resulting from, embodying, explaining, supporting, contradicting, discussing, showing,

describing, reflecting, analyzing, setting forth, in respect of, having a relationship to, or in any way

being factually, legally or logically connected to, in whole or in part, the stated subject matter.

        13.     “Communication” when used herein means any form of information exchange, or

attempted exchange, by any media in any manner, whether oral or written, including without

limitation: correspondence, electronic mail (“email”), social media messages or posts, online

discussion board posts and messages, face-to-face conversation, meeting or conference, telexes,

facsimile transmissions, recordings in any medium of oral communication, telephone and message

logs, and notes or memoranda relating to any written, electronic or oral communication, tweets,

blogs or text messages. The word “communication” includes internal communications.

        14.     “Document” shall have the full meaning ascribed under the Federal Rules of Civil

Procedure and shall mean, without limitation, any written, recorded, or graphic material of any

kind within your possession, custody, or control, whether in paper or electronic form. The term

includes, but is not limited to, all agreements; contracts; letters; telegrams; communications;
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facsimile transmissions; memoranda; reports; records; studies; instructions; specifications;

handwritten or typewritten notes; notebooks; scrapbooks; diaries; calendars; plans; drawings;

sketches; diagrams; minutes of meetings, conferences, and telephone or other conversations;

photocopies; charts; graphs; descriptions; drafts; ledgers; financial statements or reports; invoices;

bills; microfilm, microfiche, tape, disk, or diskette recordings; computer records and computer

printouts; and emails, electronic intraoffice or interoffice messages, chats, or text messages.

         15.    “Felony arrestee” refers to any person arrested in Harris County and charged with

a felony offense under the laws of the state of Texas.

         16.    “Felony bail schedule” or “bail schedule” refers to the bail schedule that is currently

in effect and was filed on the docket in this litigation at Docket Entry No. 1-4, unless otherwise

noted.

         17.    “Financial condition” or “financial condition of release” refers to a requirement to

make a cash payment prior to being released as a condition of being released. These terms are

synonymous with “secured bail amount” and “secured financial condition.”

         18.    “Hearing Officers” means the Harris County Criminal Law Hearing Officers.

         19.    “Include” or “including” denotes a portion of a larger whole and is used without

limitation.

         20.    “Including” means “including, but not limited to.”

         21.    “Indigent” refers to any felony arrestee who cannot afford to pay the cost of secured

bail or a fee or cost associated with a condition of pretrial release in a case to be prosecuted in the

Harris County Criminal District Courts without suffering hardship meeting the basic necessities of life,

such as food, shelter, clothing, communication, transportation, and medical care, including, but not

limited to, anyone who meets one or more of the following criteria:
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           a. Is found to be indigent under the indigent defense plan of the Harris County Criminal
              District Courts;
           b. Is, or has dependents who are, eligible to receive food stamps, Medicaid, Temporary
              Assistance for Needy Families, Supplemental Security Income, Social Security
              Disability Income, public housing, or any other federal or state public assistance
              program based on financial hardship;
           c. Has a net household income that does not exceed 200% of the Poverty Guidelines as
              revised annually by the United States Department of Health and Human Services and
              published in the Federal Register;
           d. Is homeless as that term is defined by federal public health and welfare law found at
              42 U.S.C. § 11302; or
           e. Is currently serving a sentence in a correctional institution, is currently residing in a
              public mental health facility or court-ordered treatment facility, or is subject to a
              proceeding in which admission or commitment to such a mental health facility is
              sought.

        22.    “Initial bail hearing” refers to the hearing to determine conditions of release that

takes place inside the jail, is presided over by a Criminal Law Hearing Officer, and is referred to

locally as “magistration” or the “Article 15.17 hearing.”

        23.    “Nonfinancial condition of release” refers to a condition of release that does not

require an upfront payment and does not require the person to make a payment if they do not

appear for a court proceeding and the judge forfeits the bond.

        24.    “Personal bond” refers to an order releasing a person on unsecured bail.

        25.    “Relating to” shall mean in whole or in part, constituting, containing, referring to,

discussing, dealing with, describing, reflecting, or pertaining to in any way whatsoever.

        26.    “Secured bail amount” or “secured financial condition” refers to a requirement to

make a cash payment prior to being released as a condition of being released.

        27.    “The Sheriff” refers to Harris County Sheriff Ed Gonzalez in his official capacity.

        28.    “The County” refers to Harris County and all of its agents and employees, including

but not limited to the Harris County Criminal Law Hearing Officers

        29.    “The Felony Judges” or “the District Court Judges” or “the Criminal District Court

Judges” refer to the 23 judicial defendants in this litigation.
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        30.    “Unsecured bail” or “unsecured bond” refers to release that is conditioned on a

promise to pay a specific amount of money if the person does not appear for a court proceeding

and the judge forfeits the bond.

        31.    “You,” “your,” and “yours” means the Defendant Harris Country, and any or all of

his or her officers, employees, representatives, or agents, including the Harris County Criminal

Law Hearing Officers and Pretrial Services.

                                   REQUESTS FOR PRODUCTION

   19. All documents or communications relating to bail, including any bail schedules or other
       instructions, guidelines, directives, or advisories from any of the Defendant Felony Judges
       relating to bail, and documents or communications relating to the development, adoption,
       rescission, proposed adoption, or proposed rescission of any such bail schedule, instruction,
       guideline, directive, or advisory.

   20. All documents relating to felony bail policies or practices in Harris County from January
       1, 2015 through the present. Such policies include but are not limited to any and all bail
       schedules; the Public Safety Assessment and its incorporation into the bail schedule; the
       two General Orders issued in April 2020, Dkt. 214-7, Dkt. 32-6; and the July 21, 2017
       order authorizing public defenders to represent people at Article 15.17 bail hearings for
       purposes of bail but not for purposes of determining probable cause.
   21. All documents relating to or referencing the March 23, 2017 “Recommended Standard Bail
       Practices.” (Bates stamp HC 120494)
   22. All communications relating to Governor Abbott’s Executive Order GA-13, bail, and/or
       the post-arrest process.
   23. All documents reflecting standing orders, policies, procedures, directives, guidelines or
       instructions relating to court appearance, in-person or virtually, from March 1, 2020 to the
       present.
   24. All documents reflecting standing orders, policies, procedures, directives, guidelines or
       instructions relating to releasing medically vulnerable people from March 1, 2020 to the
       present.
   25. All documents concerning case backlogs or delays in Harris County’s criminal district
       courts.


Date: February 24, 2021                              Respectfully Submitted,

/s/ Alec Karakatsanis                                /s/ Neal S. Manne
/s/ Elizabeth Rossi                                  Neal S. Manne
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                    IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

                                                 )
 RUSSELL, et al.                                 )
                                                 )
 Plaintiffs,                                     )            Case No. 4:19-cv-00226
                                                 )                (Class Action)
 v.                                              )        The Honorable Lee H. Rosenthal
                                                 )              U.S. District Judge
 HARRIS COUNTY, TEXAS, et al.                    )
                                                 )
 Defendants.                                     )
                                                 )

 PLAINTIFFS’ REQUESTS FOR PRODUCTION TO DEFENDANT HARRIS COUNTY

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Local Rules

of the Southern District of Texas, plaintiffs request that Defendant Harris County produce the

following documents.

                                         INSTRUCTIONS

      1. Manner of Responding. Your written response shall state, with respect to each item or

category, that inspection and related activities will be permitted as requested unless the request is

refused, in which event the reasons for refusal shall be stated. If the refusal relates to part of an

item or category, the part shall be specified.

      2. Manner of Producing. The documents responsive to these requests shall be produced in

compliance with the terms described in the ESI Protocol.

      3. Scope of the Requests. All requests are for documents applicable to, relating to, or

concerning the Defendant, as “Defendant” is defined in the Definitions section.

      4. Possession, Custody, Control. Each category of documents or things in these requests

extends to any documents or things in your possession, custody, or control. A document or thing
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shall be deemed to be in your possession, custody, or control if it is in your physical custody, or if

it is in the physical custody of any other person and you (a) own such document or thing in whole

or in part; (b) have a right by contract, statute, or otherwise to use, inspect, examine, or copy such

document or thing in whole or in part; (c) have an understanding, express or implied, that you may

use, inspect, examine, or copy such document or thing in whole or in part; or (d) as a practical

matter, have been able to use, inspect, examine, or copy such document or thing in whole or in

part.

          Where documents or things in the possession, custody, or control of any individual, agency,

office, firm, corporation, or partnership are requested, such request also pertains to documents in

the possession, custody, or control of employees, agents, guardians, partners, representatives,

and—unless privileged or protected—attorneys of such individuals, agencies, offices, firms,

corporations, or partnerships, unless otherwise specified. Responsive documents applicable to that

time period shall be produced whether they originated or were adopted prior to or during that time

period.

    5. In Case of Ambiguity. If, in responding to these Requests, you encounter any ambiguity in

construing any request, instruction, or definition, set forth the matter deemed ambiguous and the

construction used in responding.

    6. Objections. If an objection to a request is based upon a claim of privilege, attorney work

product, or any other basis, please identify, contemporaneously with producing responses to these

Requests, in writing each document so withheld by providing the following information:

    a. the date or approximate date of the document;

    b. the type of document (e.g., letter, memorandum);

    c. a description of the subject matter of the document;
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   d. each and every person who prepared, signed, or participated in the preparation of the

document or any copy thereof;

   e. each and every person who received the document or any copy thereof;

   f. the present custodian(s) of each document;

   g. a list of attachments or enclosures to the document; and

   h. the nature of the privilege asserted and any statutes, rules, or cases that you contend support

the assertion of privilege.

   7. Portions of Privileged Documents. Identify and produce all segregable portions of any

responsive document to which a claim of privilege, attorney work product, or other basis for

withholding the document does not apply.

   8. Continuing Nature of Document Requests. These Requests for Production of Documents

are continuing in character so as to require you to promptly amend or supplement your response if

you discover or obtain further materials in accordance with Fed. R. Civ. P. 26(e).

   9. Lost or Destroyed Documents. If any document requested herein has been lost, discarded,

or destroyed, please furnish a list identifying each such document as completely as possible

including, without limitation, the following information: its author and addressee, each person to

whom copies of the document were furnished or to whom the contents thereof were communicated,

a comprehensive summary of the substance of the document, the date (or approximate date) of its

disposal, the manner of its disposal, the reason for its disposal, the person authorizing its disposal,

and the person disposing of the document.
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                                            DEFINITIONS

         1.    “All” means “any and all,” and the word “any” shall be understood to include and

encompass “all.” The terms “each” and “every” shall be construed as encompassing each and

every.

         2.    “And” and “or” shall be construed conjunctively or disjunctively, whichever makes

the request more inclusive.

         3.    The words “or,” “and,” “all,” “every,” “any,” “each,” “one or more,” “including,”

and similar words of guidance, are intended merely as such, and should not be construed as words

of limitation. The words “or” and “and” shall include each other whenever possible to expand, not

restrict, the scope of the Request. The word “including” shall not be used to limit any general

category or description that precedes it.

         4.    The use of the singular form of any word includes the plural and vice versa.

         5.    The use of a word in its singular form shall be deemed to include within its use the

plural as well, and vice versa, wherever necessary to bring within the scope of the discovery request

matters that might otherwise be construed to be outside the scope of the request

         6.    The use of a verb in any tense shall encompass all other tenses, wherever necessary,

to bring within the scope of the discovery request matters that might otherwise be construed as

outside the scope of the request.

         7.    Any pronoun shall be construed to refer to the masculine, feminine, or neuter

gender and singular or plural, as in each case is most appropriate.

         8.    “Article 15.17 hearing” refers to the legal proceeding that occurs in the Joint

Processing Center and is presided over by a Criminal Law Hearing Officer. It sometimes referred

to as “magistration.”
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        9.      “Bail” means any condition of pretrial release (including a personal bond).

        10.     “Bail hearing” means any proceeding at which conditions of release are determined.

        11.     “Bail review hearing” refers to a hearing that takes place in the courtroom of a

Criminal District Court Judge that is transcribed on the record or otherwise recorded, that is

adversarial in that both the State and the Defendant are represented (or the Defendant has waived

representation), and that involves an opportunity for both the State and Defendant to present

documentary evidence and witness testimony.

        12.     “Concerning” means constituting, pertaining to, making reference to, comprising,

evidencing, alluding to, responding to, connected with, commenting on, with respect to, about,

regarding, resulting from, embodying, explaining, supporting, contradicting, discussing, showing,

describing, reflecting, analyzing, setting forth, in respect of, having a relationship to, or in any way

being factually, legally or logically connected to, in whole or in part, the stated subject matter.

        13.     “Communication” when used herein means any form of information exchange, or

attempted exchange, by any media in any manner, whether oral or written, including without

limitation: correspondence, electronic mail (“email”), social media messages or posts, online

discussion board posts and messages, face-to-face conversation, meeting or conference, telexes,

facsimile transmissions, recordings in any medium of oral communication, telephone and message

logs, and notes or memoranda relating to any written, electronic or oral communication, tweets,

blogs or text messages. The word “communication” includes internal communications.

        14.     “Document” shall have the full meaning ascribed under the Federal Rules of Civil

Procedure and shall mean, without limitation, any written, recorded, or graphic material of any

kind within your possession, custody, or control, whether in paper or electronic form. The term

includes, but is not limited to, all agreements; contracts; letters; telegrams; communications;
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facsimile transmissions; memoranda; reports; records; studies; instructions; specifications;

handwritten or typewritten notes; notebooks; scrapbooks; diaries; calendars; plans; drawings;

sketches; diagrams; minutes of meetings, conferences, and telephone or other conversations;

photocopies; charts; graphs; descriptions; drafts; ledgers; financial statements or reports; invoices;

bills; microfilm, microfiche, tape, disk, or diskette recordings; computer records and computer

printouts; and emails, electronic intraoffice or interoffice messages, chats, or text messages.

         15.    “Felony arrestee” refers to any person arrested in Harris County and charged with

a felony offense under the laws of the state of Texas.

         16.    “Felony bail schedule” or “bail schedule” refers to the bail schedule that is currently

in effect and was filed on the docket in this litigation at Docket Entry No. 1-4, unless otherwise

noted.

         17.    “Financial condition” or “financial condition of release” refers to a requirement to

make a cash payment prior to being released as a condition of being released. These terms are

synonymous with “secured bail amount” and “secured financial condition.”

         18.    “Hearing Officers” means the Harris County Criminal Law Hearing Officers.

         19.    “Include” or “including” denotes a portion of a larger whole and is used without

limitation.

         20.    “Including” means “including, but not limited to.”

         21.    “Indigent” refers to any felony arrestee who cannot afford to pay the cost of secured

bail or a fee or cost associated with a condition of pretrial release in a case to be prosecuted in the

Harris County Criminal District Courts without suffering hardship meeting the basic necessities of life,

such as food, shelter, clothing, communication, transportation, and medical care, including, but not

limited to, anyone who meets one or more of the following criteria:
  Case 4:19-cv-00226 Document 413-8 Filed on 03/02/21 in TXSD Page 43 of 45



           a. Is found to be indigent under the indigent defense plan of the Harris County Criminal
              District Courts;
           b. Is, or has dependents who are, eligible to receive food stamps, Medicaid, Temporary
              Assistance for Needy Families, Supplemental Security Income, Social Security
              Disability Income, public housing, or any other federal or state public assistance
              program based on financial hardship;
           c. Has a net household income that does not exceed 200% of the Poverty Guidelines as
              revised annually by the United States Department of Health and Human Services and
              published in the Federal Register;
           d. Is homeless as that term is defined by federal public health and welfare law found at
              42 U.S.C. § 11302; or
           e. Is currently serving a sentence in a correctional institution, is currently residing in a
              public mental health facility or court-ordered treatment facility, or is subject to a
              proceeding in which admission or commitment to such a mental health facility is
              sought.

        22.    “Initial bail hearing” refers to the hearing to determine conditions of release that

takes place inside the jail, is presided over by a Criminal Law Hearing Officer, and is referred to

locally as “magistration” or the “Article 15.17 hearing.”

        23.    “Nonfinancial condition of release” refers to a condition of release that does not

require an upfront payment and does not require the person to make a payment if they do not

appear for a court proceeding and the judge forfeits the bond.

        24.    “Personal bond” refers to an order releasing a person on unsecured bail.

        25.    “Relating to” shall mean in whole or in part, constituting, containing, referring to,

discussing, dealing with, describing, reflecting, or pertaining to in any way whatsoever.

        26.    “Secured bail amount” or “secured financial condition” refers to a requirement to

make a cash payment prior to being released as a condition of being released.

        27.    “The Sheriff” refers to Harris County Sheriff Ed Gonzalez in his official capacity.

        28.    “The County” refers to Harris County and all of its agents and employees, including

but not limited to the Harris County Criminal Law Hearing Officers

        29.    “The Felony Judges” or “the District Court Judges” or “the Criminal District Court

Judges” refer to the 23 judicial defendants in this litigation.
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        30.    “Unsecured bail” or “unsecured bond” refers to release that is conditioned on a

promise to pay a specific amount of money if the person does not appear for a court proceeding

and the judge forfeits the bond.

        31.    “You,” “your,” and “yours” means the Defendant Harris Country, and any or all of

his or her officers, employees, representatives, or agents, including the Harris County Criminal

Law Hearing Officers and Pretrial Services.

                                   REQUESTS FOR PRODUCTION

   32. All documents or communications relating to bail, including any bail schedules or other
       instructions, guidelines, directives, or advisories from any of the Defendant Felony Judges
       relating to bail, and documents or communications relating to the development, adoption,
       rescission, proposed adoption, or proposed rescission of any such bail schedule, instruction,
       guideline, directive, or advisory.
   33. All documents relating to felony bail policies or practices in Harris County from January
       1, 2015 through the present. Such policies include but are not limited to any and all bail
       schedules; the Public Safety Assessment and its incorporation into the bail schedule; the
       two General Orders issued in April 2020, Dkt. 214-7, Dkt. 32-6; and the July 21, 2017
       order authorizing public defenders to represent people at Article 15.17 bail hearings for
       purposes of bail but not for purposes of determining probable cause.
   34. All documents relating to or referencing the March 23, 2017 “Recommended Standard Bail
       Practices.” (Bates stamp HC 120494)
   35. All documents, policies, or training materials that have been in effect at any time since
       January 1, 2015 that relate to the definition of “indigence” or “ability to pay” that Hearing
       Officers or Felony Judges apply for purposes of determining bail, appointment of counsel,
       or ability to pay fines, fees, or costs associated with a conviction.
   36. All training, onboarding, or transition materials provided to any newly-elected Harris
       County criminal district court judge or a Harris County Criminal Law Hearing Officer
       relating to bail, the post-arrest process, the magistration process, preliminary court
       appearances, or the judges’ preferences regarding bail decisions and conditions of release.
   37. All correspondence submitted to any Felony Judge by or on behalf of a person detained
       pre-trial in the Harris County Jail, except correspondence filed by counsel.
   38. All communications relating to Governor Abbott’s Executive Order GA-13, bail, and/or
       the post-arrest process.
   39. All documents reflecting standing orders, policies, procedures, directives, guidelines or
       instructions relating to court appearance, in-person or virtually, from March 1, 2020 to the
       present.
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   40. All documents reflecting standing orders, policies, procedures, directives, guidelines or
       instructions relating to releasing medically vulnerable people from March 1, 2020 to the
       present.
   41. All documents concerning case backlogs or delays in Harris County’s criminal district
       courts.
   42. All documents reflecting the judges’ policies and practices relating to court-appointed
       counsel, including private counsel and the Public Defender’s Office.
   43. All documents reflecting every case in which the judge authorized an appointed lawyer or
       public defender to hire an investigator, social worker, and/or expert.


Date: February 24, 2021                            Respectfully Submitted,

/s/ Alec Karakatsanis                              /s/ Neal S. Manne
/s/ Elizabeth Rossi                                Neal S. Manne
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